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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1691V
                                          UNPUBLISHED


    EMILY HIRST,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: September 2, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

        On October 30, 2019, Emily Hirst filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she received a Tetanus Diphtheria acellular
Pertussis (Tdap) vaccine in her left deltoid on June 11, 2017, and sustained a shoulder
injury related to vaccine administration (“SIRVA”) as defined in the Vaccine Injury Table.
Petition at Preamble. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On May 28, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On September 1, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded a total of $104,297.41,
(consisting of $102,500.00 for pain and suffering and $1,797.41 for past unreimbursable
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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out-of-pocket expenses). Proffer at 1. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $104,297.41 (consisting of $102,500.00 for pain and suffering and
$1,797.41 for past unreimbursable out-of-pocket expenses) in the form of a check
payable to Petitioner. This amount represents compensation for all damages that would
be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                               OFFICE OF SPECIAL MASTERS

EMILY HIRST,                                   )
                                               )
                   Petitioner,                 )      No. 19-1691V
                                               )      Chief Special Master
          v.                                   )      Brian H. Corcoran
                                               )      SPU
SECRETARY OF HEALTH                            )
AND HUMAN SERVICES,                            )
                                               )
                   Respondent.                 )
                                               )

                 RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

          On October 30, 2019, Emily Hirst (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the

Act”), 42 U.S.C. §§ 300aa-1 to -34. Respondent conceded petitioner’s entitlement to

compensation in his Rule 4(c) Report filed on May 28, 2021. (ECF No. 32) Based on

Respondent’s Rule 4(c) Report, that same day Chief Special Master Corcoran found petitioner

entitled to compensation for her left shoulder SIRVA injury. (ECF No. 33)

I.    Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

$104,297.41. The award is comprised of $102,500.00 for pain and suffering, and $1,797.41 for

past unreimbursable out-of-pocket medical expenses. This represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $104,297.41, in the form of a check made payable to petitioner.
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1
    Petitioner agrees.

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      DARRYL R. WISHARD
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                       s/Althea Walker Davis
                                                      ALTHEA WALKER DAVIS
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                                                      Benjamin Franklin Station
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                                                      Tel: (202) 616-0515
                                                      Althea.Davis@usdoj.gov

DATED: September 1, 2021




1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
